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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


CAROLYN ANN MILLER,

      Plaintiff,

vs.                                          Case No. 4:20cv514-MW-MAF

EBS SECURITY, INC.,
PRINTELLA BUCKHEAD, owner,

     Defendants.
____________________________/


                                 ORDER

      The pro se Plaintiff filed a third amended complaint, ECF No. 12, on

February 9, 2021. After review, it was deemed sufficient to alert

Defendants to the nature and basis of Plaintiff’s claim challenging the

termination of her employment, even though it was not artfully pled. An

Order was entered on February 16, 2021, requiring the Clerk of Court to

issue summonses and provide them to the Plaintiff who was directed to

have Defendants served with process. ECF No. 13. That effort proved

unsuccessful and Plaintiff did not properly comply with the Order. Rather,

Plaintiff signed the waiver forms and returned them to the Court. ECF No.
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15. In considering the progress of the case, it was determined that Plaintiff

was not likely to effect service of process. See ECF No. 16. Thus, an

Order was entered on March 12, 2021, required the pro se Plaintiff to

submit two identical service copies of her third amended complaint, ECF

No. 12. Id.

      Thereafter, Plaintiff submitted an untitled document, ECF No. 17,

which required no action. However, Plaintiff was given a brief extension of

time in which to provide the Court with two copies of her third amended

complaint, ECF No. 12.1 ECF No. 18. The Clerk of Court has informed the

Court that Plaintiff has now complied and provided two service copies of

her third amended complaint. This Order directs service on Plaintiff’s

behalf by the United States Marshals Office pursuant to Rule 4(c)(3).

Service must be completed within 90 days as required by Rule 4(m).

      Accordingly, it is ORDERED:

      1. The Clerk of Court shall provide three copies of this Order to the

United States Marshals Service along with the two service copies of



      1
        Rule 4 states that “[t]he plaintiff is responsible for having the summons and
complaint served within the time allowed by Rule 4(m) and must furnish the necessary
copies to the person who makes service.” Fed. R. Civ. P. 4(c)(1).

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Plaintiff’s third amended complaint [hereinafter “complaint”], ECF No. 12,

and shall note on the docket when received by the Marshals Service.

      2. Within 14 days of the date of this Order, the United States

Marshals Service [USMS] shall promptly take steps to serve a copy of the

complaint and this Order upon the two named Defendants, first by

requesting that the Defendants waive formal service of process pursuant to

Fed. R. Civ. P. 4(d).2 Pursuant to FED. R. CIV. P. 4(c)(2), all costs of

service shall be advanced by the United States.

      3. To enable the USMS to comply with this Order, the Clerk of Court

shall prepare two copies of the AO 399 form (Waiver of the Service of

Summons) and one copy of the NUSM-1 form (Notice of a Lawsuit and

Request to Waive Service of a Summons) for each Defendant, and

transmit those documents to the United States Marshals Service.

      4. Pursuant to FED. R. CIV. P. 4(d), the USMS shall send the service

copies of the complaint, a completed NUSM-1 Form,3 two copies of AO 399



      2
         Rule 4(d)(1) states that “[a]n individual, corporation, or association that is
subject to service under Rule 4(e), (f), or (h) has a duty to avoid unnecessary expenses
of serving the summons.” Fed. R. Civ. P. 4(d)(1).
      3
      The Marshals Service must complete the certification on page two of the
NUSM-1 Form, although the Clerks Office shall prepare page one of the form.

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Form, and a prepaid means of compliance to the Defendants through first

class mail. Those documents shall be sent to Defendants Printella

Buckhead and EBS Security, Inc., at the address listed by Plaintiff in the

complaint. See ECF No. 12 at 2.

      5. If service is returned unsuccessfully, or the waiver of service form

is not returned within thirty (30) days from the date of mailing, the USMS

shall obtain necessary summonses4 from the Clerk of Court and personally

serve the Defendants pursuant to FED. R. CIV. P. 4(e),(h).5

      6. Upon request from the USMS, the Clerk of Court shall

immediately issue summonses for the Defendants.

      7. Upon completion of service, the USMS shall file with the Clerk of

Court the return of service and a written statement of all costs incurred in

making personal service.



      4
         By waiving service, a defendant is provided 60 days in which to respond to the
complaint. FED. R. CIV. P. 4(d)(3). Should a defendant not waive service of process,
that defendant will have only 21 days to file an answer and may be required to pay the
expenses incurred in making service. FED. R. CIV. P. 4(d)(2).
      5
        The Federal Rules of Civil Procedure provide that corporations, partnerships, or
associations may be served “in the manner prescribed by Rule 4(e)(1) for serving an
individual;” or by “delivering a copy of the summons and of the complaint to an officer, a
managing or general agent, or any other agent authorized by appointment or by law to
receive service of process and - if the agent is one authorized by statute and the statute
so requires - by also mailing a copy of each to the defendant.” FED. R. CIV. P. 4(h).

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      8. The Clerk of Court shall refer this file to the undersigned if the

waiver form (AO 399 form) is returned for insufficient address or for similar

reason, if service on the Defendant is returned unexecuted, or if the USMS

has filed a statement of costs incurred for making personal service.

      9. After a response to the complaint has been filed by the

Defendants, Plaintiff is reminded that she must mail to the attorney

representing the Defendants a copy of every pleading or other paper,

including motions and notices, submitted for consideration by the Court.

Plaintiff must include with the original paper to be filed with the Clerk of

Court a “certificate of service” which states the date a correct copy of the

paper was mailed to the Defendant or to the attorney representing the

Defendant. Any paper submitted for filing after a response to the complaint

has been filed by the Defendant which does not contain a “certificate of

service” shall be returned by the Clerk and disregarded by the Court.

      10. As a courtesy, the Clerk of Court shall provide Plaintiff with a

copy of a “certificate of service” so that Plaintiff may see the correct form to

be used in filing future documents.

      11. Plaintiff shall immediately file a notice to the Clerk’s Office in the

event that there is any change in her address. The Court will not seek to

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locate a litigant. Thus, if mail is returned because it cannot be delivered to

Plaintiff, this case may be dismissed.

      12. The Clerk of Court shall return this file upon the filing of service

return documents, or no later than June 3, 2021.

      DONE AND ORDERED on April 13, 2021.


                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE




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